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The Honorable Robert S. Lasnik

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, No. CR17-0290RSL
Plaintiff,
v. (PROPOSED)
ORDER
GHULAM JIWANI,
Defendant.

 

 

The Court having considered the Government’s Motion to Dismiss, leave of the

Court is granted to dismiss the charges against Ghulam Jiwani, and the charges against
Jiwani (but not his codefendant) are hereby DISMISSED without prejudice.
DATED: this 2O* day of November, 2018.

Presented by:
/s/ Andrew C. Friedman

ANDREW C. FRIEDMAN
Assistant United States Attorney

ORDER/JIWANI (No, CR17-0290RSL) - 1

MMS Creu

ROBERT S. LASNIK
United States District Judge

 

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